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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

ANTHONY DOSS,                                                                         PLAINTIFF
ADC #108642

v.                                  4:20-cv-00896-KGB/JTK

WENDY KELLEY, et al.                                                               DEFENDANTS

                                               ORDER

       The Court has received proposed findings and recommendations from United States

Magistrate Judge Jerome T. Kearney (Dkt. No. 3). Mr. Doss has not filed any objections, and

the time for filing objections has passed.     After careful consideration, the Court concludes that

the proposed findings and recommendations should be, and hereby are, adopted in their entirety as

this Court’s findings in all respects (Id.).    The Court dismisses without prejudice Mr. Doss’s

complaint for failure to pay the filing fee or file a motion to proceed in forma pauperis within 30

days as directed by the Court (Dkt. No. 1).

       It is so ordered this 21st day of October, 2020.



                                                              _____________________________
                                                              Kristine G. Baker
                                                              United States District Judge
